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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF F LORIDA

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Case No: 07-60289-CR-MIDDLEBROOKS 3: §
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UNITED STATES OF AMERICA 54g
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Plaintiff, ©
VS,
HERBERT SILER
Defendant.
/
ORDER

THIS MATTER having come to be heard upon the Defendant's Motion To

Authorize Criminal Justice Act F unds, by and through Attorney Michael B, Cohen, Esq.,
and the Court having heard argument of counsel and being otherwise full

premises does ORDER and ADJ UDGE that said Motion be and is hereby “=> .

DONE and ORDERED in Chambers this //

DISTRICT COURT JUDGE
